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                  4:21-CV-387
           I N THE U NITED S TATES D ISTRICT C OURT ,
           F OR THE S OUTHERN D ISTRI CT OF T EXAS ,
                      H OUSTON D IVISION


              The Satanic Temple, Inc. and Ann Doe,
                            Plaintiffs

                                 v.

                Cecile Young, health commissioner,
                            Defendant.

                M OTION T O S TRIKE
         D EFENDANT ’ S M OTION TO D ISMISS




      Matt Kezhaya                         matt@crown.law
      Ark. # 2014161                    direct: (479) 431-6112
      Minn. # 0403196                 general: (612) 349-2216

      333 N. Washington Ave # 300, Minneapolis, MN 55415




                                                                 Exhibit 3
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    COMES NOW The Satanic Temple, by and through counsel of rec-

 ord, on its motion to strike Young’s Motion to Dismiss.



                     P ROCEDURAL      HIS TORY

    Two years ago, this action started as a religious dispute over

 whether a governmental official had crossed a Constitutional

 boundary. Between then and now, the predicate for the ritual went

 from “fundamental right” to “punishable” for TST’s congregants,

 and “criminal” for any provider wishing to assist TST’s congregants

 practice their religious beliefs. After the United States Supreme

 Court released its opinion on Dodds, this court issued an order for

 scheduling moving forward in keeping with Dodds. (the “Order”).

 (ECF 38)

    Following the Order, TST filed an amended complaint and a mo-

 tion for both a temporary restraining order and a preliminary injunc-

 tion. (ECF 40).    To date, Young has failed to Answer TST’s

 amended complaint. Instead, Young filed a motion to dismiss in

 defiance of the Order. For the reasons discussed herein, the Court




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 should strike Young’s motion to dismiss and enter an order for De-

 fault in favor of TST and against Young.



                         M ATERIAL F ACTS

    On July 13, 2022, this court issued a modified scheduling order

 (the “Order”) for re-initiation of proceedings following the Supreme

 Court’s decision on Dodds. (ECF 38). Pursuant to the Order, Plain-

 tiffs The Satanic Temple, Inc. and Ann Doe (“TST”) were to file an

 amended complaint and any motions for injunctive relief on or be-

 fore August 22, 2022. Id. Plaintiff complied with this order. (See

 ECF 40). Defendant Cecile Young (“Young”) was ordered to file

 any dispositive motions on or before September 5, 2022. (ECF 38).

 The Order was silent as to Young’s deadline to file an answer to

 TST’s amended complaint. Id. On September 13, 2022, TST sent a

 courtesy letter to counsel for Young. (See Ex. 1, Plaintiff’s letter to

 Hilton, 9/13/2022). The purpose of the letter was to inform Young

 that her deadline to answer had lapsed. The next day, Young,

 through counsel, sent an email stating that the missed deadlines




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 were due to a calendaring error. (See Ex. 2, email from Kercher,

 9/14/2022). Young requested a “week’s extension on our responsive

 pleading deadline” (emphasis added). Id. On September 19, 2022,

 two full weeks after her deadline had expired, Young filed a motion

 to dismiss. (ECF 46). Young has still not filed an answer to TST’s

 amended complaint. On September 26, 2022, TST informed Young

 by email that her motion was untimely and procedurally deficient.

 (See Ex. 3, email from Henry dated 9/26/2022 et. seq). TST de-

 manded that Young withdraw her motion to dismiss, and stated that

 it would grant Young one week to file an answer before moving for

 default if Young agreed to withdraw her motion. Id. Ultimately,

 Young refused to withdraw her motion. Id. Following Young’s re-

 fusal, TST brings this motion to strike Young’s motion to dismiss.




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                            A RGUMENT

                                 I.
             Motion to Strike Young’s Motion to Dismiss

 1: Young’s motion to dismiss is untimely.

    The Order issued by this court required TST to serve and file its

 amended complaint no later than August 22nd, 2022. TST com-

 plied, serving and filing both its amended complaint and its motion

 for injunctive relief on August 22, 2022. (See ECF 40). The Order

 continued by ordering Defendant to respond to any motion for pre-

 liminary injunction and assert any dispositive motions. (ECF 38 at 1)

 emphasis added. Between August 23rd and September 18, 2022,

 Young filed nothing.

    The Order gave no deadline for Defendant to Answer TST’s

 amended complaint. Absent direction from the Court, TST deter-

 mined that Young’s deadline to Answer must necessarily be dic-

 tated by the Federal Rules of Civil Procedure. Specifically, TST de-

 termined that F.R.C.P. § 12(a)(1)(A)(i) must control the Young’s

 deadline to answer. Pursuant to that rule, Young’s Answer was due




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 by midnight of Monday September 12, 2022. When Young’s dead-

 line for her answer came and passed without any filing, TST sent a

 courtesy letter to Young asking whether she intended to file an An-

 swer. (See Ex. 1). Young, through counsel, emailed TST the follow-

 ing day, requesting our leave for a week to Answer. TST, through

 counsel, agreed. (See Ex. 2).

    Young asked for a “week’s extension” to file a responsive plead-

 ing. (Ex. 2). Rather than file an answer to TST’s amended com-

 plaint, Young filed a motion to dismiss. A plain reading of Fed. R.

 Civ. P. 7(a) should tell any reasonable party that a motion to dismiss

 is not a pleading, responsive or otherwise, under the Federal Rules.

 It is possible that counsel for Young believes that these rules do not

 apply to Attorneys General, but that belief is mistaken. A plain

 reading of both TST’s letter and Young’s responsive email shows

 that it is chronologically impossible for the parties to have been dis-

 cussing anything other than Young’s answer. TST sent its letter the

 day after Young’s deadline to answer. Young’s deadline for a dis-

 positive motion had passed one week earlier. It is not reasonable to




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 read TST’s letter as also including a dispositive motion in its inquiry

 to Young. Moreover, it is impossible for TST to have agreed, on

 September 14, 2022, to a one-week extension for Young’s Septem-

 ber 5, 2022, deadline. In fact, TST’s letter gave Young notice that

 her deadline for a dispositive motion had passed, and TST was spe-

 cifically looking for Young’s Answer to TST’s amended complaint.

 TST’s agreement for a one-week extension was only for Young to

 serve and file an Answer. Young never mentioned a motion to dis-

 miss. TST would have never agreed to extend Young’s deadline on

 a motion to dismiss. Nothing in TST’s response to Young’s counsel

 can be reasonably read as our agreement to extend her deadline to

 file a dispositive motion.

 2: Young’s Motion to Dismiss is procedurally deficient.

       Young’s motion to dismiss is procedurally deficient because

 it does not properly comply with Rule 7(P) of the local rules for the

 Southern District of Texas. Rule 7(P) requires a party to include a

 certification that the movant “notified the opposing party of the is-

 sues asserted in the motion and the parties tried but could not agree




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 that the pleading deficiency could be cured . . .”

       TST filed its amended complaint on August 22, 2022. At no

 time between August 22, 2022, and September 19, 2022, did Young,

 through counsel or otherwise, reach out to TST or any of TST’s

 counsel to discuss Young’s intention to move for dismissal or oth-

 erwise discuss any “deficiency” in TST’s pleading, or how such “de-

 ficiency” could be “cured.” A plain reading of the certification

 Young did include in her motion to dismiss shows clearly that

 Young referenced no communication with TST after April 30, 2021.

 (See ECF 46 at 15).

       As the exhibits TST has provided here show, the September

 14, 2022 communications where the parties supposedly “conferred

 . . . to discuss deadlines” was the letter TST sent and Young’s email

 requesting more time to Answer. No other communications be-

 tween the parties occurred. As the letter and email show, dispositive

 motions were never discussed, much less any attempt by Young to

 address any deficiencies it believed TST’s amended complaint con-

 tained, or any attempt to discuss how those deficiencies could be




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 cured as required by S.D. Tex. R. § 7(P). Young’s certification itself

 shows that Young only certified as to discussing “deadlines” with

 TST on September 14, 2022. Yet the email sent by Young, through

 counsel, specifically states that Young asked for “the courtesy of a

 week’s extension on our responsive pleading deadline.” (See email

 from Kercher dated September 14, 2022.) The email makes no men-

 tion of deficiencies in the pleading. Nor does the email include any

 discussion of how those deficiencies may be cured. Nor does the

 email include any language inviting TST to discuss the pleading at

 all. Young’s certification of compliance with Rule 7(P) is a decep-

 tive attempt by Young to feign compliance with the rule without

 making any actual attempt to comply.

       For the reasons discussed herein, Young’s Motion for Dismis-

 sal is both untimely and procedurally deficient, and should be

 stricken.




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                       P RAYER   FOR RELIEF

  WHEREFORE TST respectfully requests that the Court enter an or-

  der striking Young’s Motion to Dismiss for being untimely and for

  failure to comply with S.D. Tex. R. 7(P).


  Respectfully submitted,




      Matt Kezhaya                          matt@crown.law
      Ark. # 2014161                     direct: (479) 431-6112
      Minn. # 0403196                  general: (612) 349-2216

      Nicholas Henry                          nick@crown.law
      Minn. # 0395850                    direct: (612) 895-3186
      (pro hac vice pending)             general: 612-349-2216

      333 N. Washington Ave # 300, Minneapolis, MN 55415




                   W ORD    COUNT CERTIFICATE

                The forgoing consists of 1,617 words.




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                   C ERTIFICATE     O F CONFERENCE

     On September 26, I sent an email to Ryan Kercher to discuss his

  client’s motion to dismiss. See Ex. 3. In that email I informed him

  of our intention to file this motion to strike if we could not come to

  an agreement. Mr. Kercher maintained that despite his deadline

  having long since lapsed, and despite the plain language of the com-

  munications between the parties, and despite the rules of civil pro-

  cedure, he was entitled to file a motion to dismiss in lieu of an an-

  swer. Between September 26 and September 28, 2022, both Mr.

  Kezhaya and I tried to explain to Mr. Kercher why his motion was

  untimely and should be withdrawn. Despite our best efforts of co-

  operation while still conforming to the rules of procedure, the par-

  ties could not come to an agreement. This motion follows.

  –Nicholas Henry (pro hac vice pending)




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                     C ERTIFICATE     OF   S ERVICE

     NOTICE IS GIVEN that I, Nicholas Henry, efiled the foregoing

  document by uploading it to the Court’s CM/ECF system on Sep-

  tember 29, 2022, which sends service to registered users, including

  all other counsel of record in this cause. Nicholas Henry




                                                                  Exhibit 3
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VIA EMAIL ONLY

Christopher D. Hilton
Deputy Chief, General Litigation Division
Office of the Attorney General
P.O. Box 12548
Austin Texas 78711-2548
christopher.hilton@oag.texas.gov

      re:   The Satanic Temple, Inc. and Ann Doe v. Texas Health and
            Human Services Commission and Cecile Young
            Civil Action No. 4:21-cv-00387

Dear Mr. Hilton:

I represent the Plaintiffs in the above captioned matter. As you are aware, the
Court issued an Order on July 13, 2022 that outlined certain deadlines following
the Supreme Court’s issuance of the Dobbs decision. See Attachment 1, Order
dated July 13, 2022.

The Court ordered that Plaintiffs were to file their amended complaint and any
motion for preliminary injunction by August 22, 2022. We complied with this
order and filed and served via Pacer both an amended complaint and a motion
for injunctive relief on that date. See attachment 2, Amended Complaint Filing
Report. The order also stated that your deadline to respond to any motion for
injunctive relief was September 5, 2022. That deadline came and went without
any filing on behalf of the Defendants.

The Order was silent on any deadline for the Defendants to file an answer to
Plaintiff’s amended complaint. Absent any deadline provided for by the Order,
Federal Rule of Civil Procedure 12(a)(1)(A)(i) controls as to the Defendants’



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deadline to answer. Pursuant to the Rule, Defendants’ Answer was due by mid-
night of Monday September 12 2022. We are unaware of any request by De-
fendants for a waiver pursuant to F.R.C.P. 12(a)(1)(A)(ii). We have confirmed
through Pacer that that deadline passed with no response from the Defendants.
In light of Defendants failure to answer Plaintiff’s amended complaint on or be-
fore the September 12 deadline, Defendants are now in default.


This letter is being sent as a courtesy to you. Please let Plaintiff know whether
your failure to answer was intentional or inadvertent. Also let Plaintiff know
whether you intend to answer Plaintiff’s amended complaint dated August 22,
2022. If we do not see that you have responded to this letter or filed an answer
on or before the close of business of Thursday, September 15 we will have no
choice but to move the court for a default judgment pursuant to Rule 55.

Sincerely,




             Matt Kezhaya                       matt@crown.law
             Ark. # 2014161                 direct: (479) 431-6112
             Minn. # 0403196              general: (612) 349-2216

             100 S. Fifth St., 19th Floor, Minneapolis, MN 55402

Cc:
Bradley David Ryynanen by email to brad@bdrlegal.com
Ryan Glen Kercher by email to ryan.kercher@oag.texas.gov




                                                                        Exhibit 3
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                                                                         United States District Court
                                                                           Southern District of Texas

                                                                              ENTERED
                                                                              July 13, 2022
                                                                           Nathan Ochsner, Clerk

                    UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

        THE SATANIC TEMPLE            § CIVIL ACTION NO
        INC and ANN DOE,              § 4:21-cv-00387
                  Plaintiffs,         §
                                      §
                                      §
               vs                     § JUDGE CHARLES ESKRIDGE
                                      §
                                      §
        TEXAS HEALTH AND              §
        HUMAN SERVICES                §
        COMMISSION and                §
        CECILE YOUNG,                 §
                 Defendants.          §

                                   ORDER

            This matter was stayed pending ruling by the United
        States Supreme Court in Dobbs v Jackson Women’s Health
        Organization. The parties were also ordered to promptly
        confer in good faith and file a status report following that
        ruling. Dkt 32 at 2–3. The parties complied, and their joint
        status report has been reviewed. Dkt 37.
            The request by Plaintiffs for leave to amend their
        complaint is GRANTED. It’s understood that such
        amendment will withdraw certain claims from this action
        while adding others. Plaintiffs may, if desired, file a motion
        for preliminary injunction as noted, if such motion can be
        brought in conformance with Rule 11. Dkt 32 at 1–2.
        Defendants may then assert any intended motion to
        dismiss or other appropriate motion. Id at 2.
            The following deadlines pertain:
                o By August 22nd, Plaintiffs must file their
                    amended complaint and any motion for
                    preliminary injunction;
                o By September 5th, Defendants must respond to




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                    any motion for preliminary injunction and
                    assert any dispositive motions;
                o By September 19th, Plaintiffs must respond to
                    any dispositive motions and may reply in
                    support of any motion for preliminary
                    injunction; and
                o By September 26th, Defendant may reply in
                    support of any dispositive motions.
            A hearing on any motions will be set as necessary in
        the Court’s discretion.
            This action is otherwise STAYED until further order.
        Discovery will not proceed during pendency of the above
        motion practice absent further order.
            SO ORDERED.


            Signed on July 13, 2022, at Houston, Texas.


                                 __________________________
                                 Hon. Charles Eskridge
                                 United States District Judge




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                                                                            APPEAL,APPEAL_NAT,STAYED
                                   U.S. District Court
                        SOUTHERN DISTRICT OF TEXAS (Houston)
                        CIVIL DOCKET FOR CASE #: 4:21−cv−00387

The Satanic Temple, Inc. et al v. Hellerstedt et al                  Date Filed: 02/05/2021
Assigned to: Judge Charles Eskridge                                  Jury Demand: None
Cause: 42:1983 Civil Rights Act                                      Nature of Suit: 440 Civil Rights: Other
                                                                     Jurisdiction: Federal Question
Plaintiff
The Satanic Temple, Inc.                              represented by Matt Kezhaya
                                                                     Crown Law
                                                                     333 N. Washington Ave.
                                                                     Ste # 300
                                                                     55401
                                                                     Minneapolis, MN 72712
                                                                     479−431−6112
                                                                     Fax: 612−349−2760
                                                                     Email: matt@crown.law
                                                                     ATTORNEY TO BE NOTICED

                                                                     Bradley David Ryynanen
                                                                     The Ryynanen Law Office, PLLC
                                                                     515 Centre Street
                                                                     #4471
                                                                     Dallas, TX 75208
                                                                     214−453−6500
                                                                     Email: brad@bdrlegal.com
                                                                     ATTORNEY TO BE NOTICED

Plaintiff
Ann Doe                                               represented by Matt Kezhaya
                                                                     (See above for address)
                                                                     ATTORNEY TO BE NOTICED

                                                                     Bradley David Ryynanen
                                                                     (See above for address)
                                                                     ATTORNEY TO BE NOTICED


V.
Defendant
John William Hellerstedt, MD                          represented by Christopher D. Hilton
in his official capacity as Executive                                Texas Office of the Attorney General
Commissioner of the Department of State                              PO Box 12548
Health Services                                                      Capitol Station
TERMINATED: 07/13/2022                                               Austin, TX 78711
                                                                     512−463−2120
                                                                     Email: christopher.hilton@oag.texas.gov
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED

                                                                     Francesca Andrea Di Troia
                                                                     Savrick Schumann Johnson McGarr
                                                                     4330 Gaines Ranch Loop
                                                                     Suite 150
                                                                     Austin, TX 78701
                                                                     512−347−1604
                                                                     Fax: 512−347−1676
                                                                     Email: francesca@ssjmlaw.com
                                                                                             Exhibit 3
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                                                TERMINATED: 03/17/2021
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Benjamin Sheffield Walton
                                                Office of the Attorney General
                                                300 W. 15th St.
                                                Austin, TX 78701
                                                512−463−0447
                                                Fax: 512−320−0667
                                                Email: benjamin.walton@oag.texas.gov
                                                ATTORNEY TO BE NOTICED

Defendant
Texas Department of State Health    represented by Christopher D. Hilton
Services                                           (See above for address)
TERMINATED: 07/13/2022                             LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                Francesca Andrea Di Troia
                                                (See above for address)
                                                TERMINATED: 03/17/2021
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Benjamin Sheffield Walton
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

Defendant
Planned Parenthood Center for
Choice, Inc.
TERMINATED: 07/13/2022

Defendant
Texas Health and Human Service      represented by Christopher D. Hilton
Commission                                         (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                Ryan Glen Kercher
                                                Office of the Attorney General
                                                PO Box 12548, Capital Station (MC 019)
                                                Austin, TX 78711
                                                512−936−0707
                                                Email: ryan.kercher@oag.texas.gov
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

Defendant
Cecile Young                        represented by Christopher D. Hilton
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                Ryan Glen Kercher
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED


 Date Filed    #   Docket Text
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08/22/2022   39 AMENDED COMPLAINT against All Plaintiffs filed by The Satanic Temple, Inc.,
                Ann Doe.(Ryynanen, Bradley) (Entered: 08/22/2022)




                                                                              Exhibit 3
                                                                                      1
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Sonia Kezhaya

From:                      Brad Ryynanen <brad@bdrlegal.com>
Sent:                      Wednesday, September 14, 2022 1:34 PM
To:                        Ryan Kercher; Bill Rohla; Christopher Hilton
Cc:                        Matt Kezhaya; John Hayden; Sonia Kezhaya; Nick Henry
Subject:                   RE: Courtesy letter


Ryan,

We will grant you one week from the deadline if that will be sufficient. Let us know if you need more time than that.

Thank you,
Brad


                   Brad Ryynanen
                   Attorney & Counselor, The Ryynanen Law Office, PLLC
                   214.972.8640| brad@bdrlegal.com
                   www.bdrlegal.com
                   Mailing Address: 515 Centre Street #4471, Dallas, TX 75208


IMPORTANT: The contents of this email and any attachments are confidential. They are intended for the named recipient(s) only. If
you have received this email by mistake, please notify the sender immediately and do not disclose the contents to anyone or make
copies thereof.




From: Ryan Kercher <Ryan.Kercher@oag.texas.gov>
Sent: Wednesday, September 14, 2022 12:41 PM
To: Bill Rohla <bill@crown.law>; Christopher Hilton <Christopher.Hilton@oag.texas.gov>; Brad Ryynanen
<brad@bdrlegal.com>
Cc: Matt Kezhaya <matt@crown.law>; John Hayden <john@crown.law>; Sonia Kezhaya <sonia@crown.law>; Nick Henry
<nick@crown.law>
Subject: RE: Courtesy letter

Gentlemen –

Thank you for your letter. The deadlines described therein were missed due to a calendaring error, which is my fault. I
would appreciate the courtesy of a week’s extension on our responsive pleading deadline, and am happy to discuss
further, as necessary.

Regards,

RGK

From: Bill Rohla <bill@crown.law>
Sent: Tuesday, September 13, 2022 6:00 PM
                                                                               1
                                                                                                                                    Exhibit 3
                                                                                                                                            2
             Case 4:21-cv-00387 Document 51 Filed on 09/29/22 in TXSD Page 21 of 29

To: Christopher Hilton <Christopher.Hilton@oag.texas.gov>; brad@bdrlegal.com; Ryan Kercher
<Ryan.Kercher@oag.texas.gov>
Cc: Matt Kezhaya <matt@crown.law>; John Hayden <john@crown.law>; Sonia Kezhaya <sonia@crown.law>; Nick Henry
<nick@crown.law>
Subject: Courtesy letter

Good evening,

Please see the attached letter hereto. Please acknowledge receipt. Thank you.

Regards,
Bill

Bill Rohla
Paralegal

Arkansas office:
Crown Law
1202 NE McClain Rd
Bentonville, AR 72712
p: (479) 431-6112
f: (612) 349-2760
e: bill@crown.law

Minnesota office:
Crown Lawn
100 S. Fifth Street
19th Floor
Minneapolis, MN 55402
p: (612) 474-2704
f: (612) 605-6001
e: bill@crown.law




                                                           2
                                                                                           Exhibit 3
                                                                                                   2
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From:                             Ryan Kercher <Ryan.Kercher@oag.texas.gov>
Sent:                             Thursday, September 29, 2022 5:06 PM
To:                               Matt Kezhaya; Nick Henry; Sonia Kezhaya; John Hayden; Brad Ryynanen; Bill Rohla;
                                  Christopher Hilton; Heather Dyer
Cc:                               Laura Hendrix
Subject:                          Re: Courtesy letter


Matt -

Thanks for clarifying your position. I don’t agree that Rule 12 motions are not responsive pleadings, and have never
heard someone argue otherwise. Even if that argument prevails, our subject matter jurisdiction arguments are not
waivable, and the Court can consider those under 12(c).

If we still disagree, you may mark me as opposed to your proposed motion to strike.

Also, please include Heather Dyer and Laura Hendrix on correspondence in this matter.

Regards,

RGK

Ryan G. Kercher
Deputy Chief
General Litigation Division
Office of the Attorney General
Direct: 512.788.3771

From: Matt Kezhaya <matt@crown.law>
Sent: Wednesday, September 28, 2022 6:07:13 PM
To: Ryan Kercher <Ryan.Kercher@oag.texas.gov>; Nick Henry <nick@crown.law>; Sonia Kezhaya <sonia@crown.law>;
John Hayden <john@crown.law>; Brad Ryynanen <brad@bdrlegal.com>; Bill Rohla <bill@crown.law>; Christopher Hilton
<Christopher.Hilton@oag.texas.gov>
Subject: RE: Courtesy letter

Hey Ryan,

I think we might be having a miscommunication. We authorized a late “responsive pleading,” not a late
“motion.” A “motion” to dismiss is not a responsive “pleading,” (see FRCP 7(a), (b)). A Rule 12 motion is
typically due at the time of the responsive pleading but, due to your office’s admitted tardiness, that
deadline elapsed without a motion. If your intent was to request an extension of your deadline to file a Rule
12 motion, we did not hear that message and we would not have agreed to the request if we had understood
the request for a late “pleading” to mean a late “motion.” It seems to me that the parties don’t have a
meeting of the minds as to whether we stipulated to a late Rule 12 motion, which means we didn’t have a
valid stipulation in the first place. That means the motion is late, which puts us in Rule 6 (i.e., motion to
extend) territory, which in turn requires “excusable neglect” to extend the deadline. I’ve briefed this before;
calendaring errors are not “excusable neglect.”

We intend to move to strike your late motion as untimely, because the elapsed deadline was not extended
by agreement and because the elapsed deadline was not extended by court order. We had an agreed
                                                            1
                                                                                                      Exhibit 3
             Case 4:21-cv-00387 Document 51 Filed on 09/29/22 in TXSD Page 23 of 29
deadline which was confirmed by the Court; Ms. Young is not entitled to special treatment under the law.
Not the supreme law of the lands, at least.

Your office has an opportunity to publicly uphold the rule of law, or to publicly suggest that your office is
immune to the pre-agreed and court-confirmed deadline. With all the “AG Paxton” headlines going on right
now, I think your office would be better served avoiding yet another public controversy.

Please withdraw your motion and enter an answer. I’m simply dying to hear the State’s proffered
“compelling interest” and how that interest is “narrowly tailored” to the means selected.



                Matt Kezhaya
                (479) 431-6112
                matt@crown.law




       From: Ryan Kercher <Ryan.Kercher@oag.texas.gov>
       Sent: Wednesday, September 28, 2022 5:48 PM
       To: Nick Henry <nick@crown.law>; Matt Kezhaya <matt@crown.law>; Sonia Kezhaya <sonia@crown.law>; John
       Hayden <john@crown.law>; Brad Ryynanen <brad@bdrlegal.com>; Bill Rohla <bill@crown.law>; Christopher
       Hilton <Christopher.Hilton@oag.texas.gov>
       Subject: RE: Courtesy letter

       Nick –

       Thanks for your response. The Court’s order stayed all deadlines pending resolution of motions to dismiss; the
       only responsive pleading I could file is the MTD. I’m happy to work with you to reschedule a response date, if
       that’s helpful.

       Regards,

       RGK

       From: Nick Henry <nick@crown.law>
       Sent: Wednesday, September 28, 2022 12:02 AM
       To: Ryan Kercher <Ryan.Kercher@oag.texas.gov>; Matt Kezhaya <matt@crown.law>; Sonia Kezhaya
       <sonia@crown.law>; John Hayden <john@crown.law>; Brad Ryynanen <brad@bdrlegal.com>; Bill Rohla
       <bill@crown.law>; Christopher Hilton <Christopher.Hilton@oag.texas.gov>
       Subject: Re: Courtesy letter

       Ryan:

       In the interest of full compliance with our requirement to "meet and confer" I will hear out your
       explanation for how any of the wording in our email or letter conferred our blessing to extend your
       deadline for a motion to dismiss. I'm also interested in your argument from a purely chronological
       perspective.



                                                          2
                                                                                                     Exhibit 3
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Your deadline to file a motion to dismiss was September 5, 2022. We sent our letter to you on
September 13, 2022. 8 full days after your deadline to file a motion to dismiss passed. Your email
asked for a one-week extension on your deadline. Even if we'd agreed to consent to your motion to
dismiss, which we most decidedly did not, it would have been impossible for us to grant a one-week
extension from the deadline, since our letter was sent the day after that one-week extension would have
passed. The only possible deadline which remained available to you for which it was possible for us to
agree to extend was your deadline for an Answer under Rule 12. Both your email and Brad's responsive
email stated as much:




So please, by all means. I'm very curious to hear your thoughts on how a one-week extension of a
September 5 deadline corresponds to a filing date of September 19.

With the issue of the deadline addressed, I'm also curious to hear your thoughts on your violation of
your duty of candor to the Court. Rule 7(P) of the Southern District of Texas' Rules States:




                                                3
                                                                                        Exhibit 3
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I see that your motion contains a certification by you that the parties "conferred" on September 14th to
discuss deadlines. That is true. What was noticeably lacking from either your email to Brad or Brad's
response to you were any discussion whatsoever of any "issues asserted in the motion" or any "pleading
deficienc[ies]." For that matter, there was a distinct lack of any discussion of a "permissible
amendment" we could offer to assuage your concerns. I would greatly like to hear your explanation on
when exactly the Parties discussed any of the requirements of this Rule as it pertains to our Amended
Complaint filed on August 22, 2022 before you filed your untimely Motion.

I look forward to your response. In the alternative, my offer for another week extension for you to
withdraw your motion to dismiss and file and serve your client's answer to our amended counterclaim
remains on the table until the Close of Business of Thursday September 29th.


Nick

From: Ryan Kercher <Ryan.Kercher@oag.texas.gov>
Sent: Tuesday, September 27, 2022 7:44 PM
To: Nick Henry <nick@crown.law>; Matt Kezhaya <matt@crown.law>; Sonia Kezhaya <sonia@crown.law>; John
Hayden <john@crown.law>; Brad Ryynanen <brad@bdrlegal.com>; Bill Rohla <bill@crown.law>; Christopher
Hilton <Christopher.Hilton@oag.texas.gov>
Subject: Re: Courtesy letter

Nick -

Thanks for your email. It sounds like we disagree about what was extended. I am happy to confer, but
understand from your email that you see but one way forward absent a withdrawal of our motion.



                                                   4
                                                                                            Exhibit 3
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We will not withdraw the motion, and you may mark us as opposed to the relief your note proposes. Happy to
discuss alternatives.

Regards,

RGK

Ryan G. Kercher
Deputy Chief
General Litigation Division
Office of the Attorney General
Direct: 512.788.3771

From: Nick Henry <nick@crown.law>
Sent: Monday, September 26, 2022 4:29:01 PM
To: Ryan Kercher <Ryan.Kercher@oag.texas.gov>; Matt Kezhaya <matt@crown.law>; Sonia Kezhaya
<sonia@crown.law>; John Hayden <john@crown.law>; Brad Ryynanen <brad@bdrlegal.com>; Bill Rohla
<bill@crown.law>; Christopher Hilton <Christopher.Hilton@oag.texas.gov>
Subject: Re: Courtesy letter

Ryan:

On September 13, my office sent you a courtesy letter informing you that your deadline to answer TST's
amended complaint had lapsed. You responded the next day with an email asking for a one-week
extension to file your responsive pleading. Mr. Ryynanen granted you the one week you
requested. Instead of filing an Answer, as we agreed to allow you to do, you instead filed a motion to
dismiss. This motion was filed without any effort on your part to confer with us as you are required to
do under the rules. Further, this motion was filed 14 days after the deadline given by the court in its
7/13/22 Order. No reasonable reading of either our courtesy letter or the follow up email
communications can lead to one drawing the conclusion that we had any intention of allowing you to
file a motion to dismiss. And yet here we are.

To that end, consider this email my attempt to "meet and confer" with you before we respond by filing a
motion to strike your Motion to Dismiss for untimeliness and for procedural deficiency. I don't see any
alternative to filing a motion short of your voluntarily withdrawing your motion. If you do choose to
withdraw your motion as untimely, I will agree to an additional one-week extension for you to file a
proper answer to our amended complaint. If you choose to not answer, I will request that the clerk enter
default judgment and then move the court to enter default. I will not agree to an extension of any other
Rule 12 defenses, because you voluntarily waived those by failing to timely respond by the September 5
deadline given by the court.

I look forward to your response.




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                                                                                          Exhibit 3
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Nick Henry

Crown Law

333 N. Washington Ave #300

Minneapolis, MN 55415

612-895-3186




From: Ryan Kercher <Ryan.Kercher@oag.texas.gov>
Sent: Wednesday, September 14, 2022 1:41 PM
To: Brad Ryynanen <brad@bdrlegal.com>; Bill Rohla <bill@crown.law>; Christopher Hilton
<Christopher.Hilton@oag.texas.gov>
Cc: Matt Kezhaya <matt@crown.law>; John Hayden <john@crown.law>; Sonia Kezhaya <sonia@crown.law>;
Nick Henry <nick@crown.law>
Subject: RE: Courtesy letter

Brad –

I very much appreciate your courtesy. A week will be sufficient.

Regards,

RGK

From: Brad Ryynanen <brad@bdrlegal.com>
Sent: Wednesday, September 14, 2022 1:34 PM
To: Ryan Kercher <Ryan.Kercher@oag.texas.gov>; Bill Rohla <bill@crown.law>; Christopher Hilton
<Christopher.Hilton@oag.texas.gov>
Cc: Matt Kezhaya <matt@crown.law>; John Hayden <john@crown.law>; Sonia Kezhaya <sonia@crown.law>;
Nick Henry <nick@crown.law>
Subject: RE: Courtesy letter

Ryan,

We will grant you one week from the deadline if that will be sufficient. Let us know if you need more time than
that.

Thank you,
Brad


               Brad Ryynanen
               Attorney & Counselor, The Ryynanen Law Office, PLLC
               214.972.8640| brad@bdrlegal.com
               www.bdrlegal.com
               Mailing Address: 515 Centre Street #4471, Dallas, TX 75208

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                                                                                             Exhibit 3
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IMPORTANT: The contents of this email and any attachments are confidential. They are intended for the named recipient(s) only. If
you have received this email by mistake, please notify the sender immediately and do not disclose the contents to anyone or make
copies thereof.




From: Ryan Kercher <Ryan.Kercher@oag.texas.gov>
Sent: Wednesday, September 14, 2022 12:41 PM
To: Bill Rohla <bill@crown.law>; Christopher Hilton <Christopher.Hilton@oag.texas.gov>; Brad Ryynanen
<brad@bdrlegal.com>
Cc: Matt Kezhaya <matt@crown.law>; John Hayden <john@crown.law>; Sonia Kezhaya <sonia@crown.law>;
Nick Henry <nick@crown.law>
Subject: RE: Courtesy letter

Gentlemen –

Thank you for your letter. The deadlines described therein were missed due to a calendaring error, which is my
fault. I would appreciate the courtesy of a week’s extension on our responsive pleading deadline, and am happy
to discuss further, as necessary.

Regards,

RGK

From: Bill Rohla <bill@crown.law>
Sent: Tuesday, September 13, 2022 6:00 PM
To: Christopher Hilton <Christopher.Hilton@oag.texas.gov>; brad@bdrlegal.com; Ryan Kercher
<Ryan.Kercher@oag.texas.gov>
Cc: Matt Kezhaya <matt@crown.law>; John Hayden <john@crown.law>; Sonia Kezhaya <sonia@crown.law>;
Nick Henry <nick@crown.law>
Subject: Courtesy letter

Good evening,

Please see the attached letter hereto. Please acknowledge receipt. Thank you.

Regards,
Bill

Bill Rohla
Paralegal

Arkansas office:
Crown Law
1202 NE McClain Rd
Bentonville, AR 72712
                                                                    7
                                                                                                                            Exhibit 3
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p: (479) 431-6112
f: (612) 349-2760
e: bill@crown.law

Minnesota office:
Crown Lawn
100 S. Fifth Street
19th Floor
Minneapolis, MN 55402
p: (612) 474-2704
f: (612) 605-6001
e: bill@crown.law




                                     8
                                                                    Exhibit 3
